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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )      CASE NO. 8:09CR139
                                                  )
                     Plaintiff,                   )
                                                  )
       vs.                                        )
                                                  )      PRELIMINARY ORDER
CARLOS ENRIQUE GUERRERO                           )      OF FORFEITURE
HERNANDEZ,                                        )
                                                  )
                     Defendant.                   )

       This matter is before the Court on the United States' Motion for Issuance of

Preliminary Order of Forfeiture (Filing No. 73). The Court reviews the record in this case

and, being duly advised in the premises, finds as follows:

       1. The Defendant has entered into a Plea Agreement, whereby he has agreed to

plead guilty to Counts II, III, V and VI of the Second Superseding Indictment. Count II

charges the Defendant with one count of possessing actual methamphetamine with intent

to distribute, in violation of 21 U.S.C. §§ 841(a)(1)&(b)(1). Count III charges the Defendant

with one count of being an illegal alien in possession of a firearm, in violation of 18 U.S.C.

§ 922(g)(5)(A). Count V of said Second Superseding Indictment seeks the forfeiture, under

21 U.S.C., § 853, of $1,920.00 in United States currency and a 1996 Ford Taurus 4-door

vehicle, on the basis they were used or were intended to be used to facilitate the offense

charged in Count II and/or were derived from proceeds obtained directly or indirectly as a

result of the commission of that offense. Count VI of the Second Superseding Indictment

seeks the forfeiture, under 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c), of a RG Ind. Inc.,

model RG42, .25 caliber pistol, on the basis it was a firearm involved or used in the

knowing commission of the offense charged in Count III.
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       2. By virtue of said plea of guilty, the Defendant forfeits his interest in the subject

properties, and the United States should be entitled to possession of said properties, under

21 U.S.C. § 853, 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c).

       IT IS ORDERED:

       A. The United States' Motion for Issuance of Preliminary Order of Forfeiture (Filing

NO. 73) is hereby sustained.

       B. Based upon Counts V and VI of the Second Superseding Indictment and the

Defendant's plea of guilty, the United States is hereby authorized to seize the $1,920.00

in United States currency, a 1996 Ford Taurus 4-door vehicle and RG Ind. Inc., model

RG42, .25 caliber pistol.

       C. The Defendant's interest in said properties is hereby forfeited to the United

States for disposition in accordance with the law, subject to the provisions of 21 U.S.C.,

§ 853(n)(1).

       D. The aforementioned forfeited properties are to be held by the United States in

its secure custody and control.

       E. Under 21 U.S.C., § 853(n)(1), the United States forthwith shall publish for at least

thirty consecutive days on an official Government internet site (www.forfeiture.gov) notice

of this Order, Notice of Publication evidencing the United States’ intent to dispose of the

properties in such manner as the Attorney General may direct, and notice that any person,

other than the Defendant, having or claiming a legal interest in any of the subject forfeited

properties must file a Petition with the court within thirty days of the final publication of

notice or of receipt of actual notice, whichever is earlier.



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       F. Said published notice shall state the Petition referred to in Paragraph E., above,

shall be for a hearing to adjudicate the validity of the Petitioner's alleged interest in the

properties, shall be signed by the Petitioner under penalty of perjury, and shall set forth the

nature and extent of the Petitioner's right, title or interest in the subject properties and any

additional facts supporting the Petitioner's claim and the relief sought.

       G. The United States may also, to the extent practicable, provide direct written

notice to any person known to have alleged an interest in the properties subject to this

Order as a substitute for published notice as to those persons so notified.

       H. Upon adjudication of all third-party interests, this Court will enter a Final Order

of Forfeiture pursuant to 21 U.S.C. § 853(n), in which all interests will be addressed.

       DATED this 7th day of April, 2010.

                                                   BY THE COURT:


                                                   s/Laurie Smith Camp
                                                   United States District Judge




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